                    Case 18-60154-pmb
       Fill in this information to identify the case:
                                                              Doc           Filed 05/28/19 Entered 05/28/19 11:38:16                                          Desc Main
                                                                             Document     Page 1 of 5

     Debtor 1            PAMALA HELLER
     Debtor 2


     United States Bankruptcy Court for the:        Northern District of Georgia, Atlanta Division                   District of         GA
                                                                                                                                         (State)


     Case Number                      1860154




 Official Form 410S1

 Notice of Mortgage Payment Change                                                                                                                                       12/15


 If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's principal residence,
 you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your
 proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of Creditor:                                                                                      Court claim no. (if known):                14-1
 NewRez LLC d/b/a Shellpoint Mortgage Servicing



                                                                                                        Date of payment change:                                          07/01/2019
                                                                                                        Must be at least 21 days after date of
                                                                                                        this notice

 Last four digits of any number you use to identify the
 debtor’s account:                                                           1964                       New total payment:                                                $ 1,534.73
                                                                                                        Principal, interest, and escrow, if any



Part 1:          Escrow Account Payment Adjustment
 1. Will there be a change in the debtor’s escrow account payment?
           No
           Yes       Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
                     basis for the change. If a statement is not attached, explain why: ________________________________________________________
                     Current escrow payment:                                $ 280.78            New escrow payment:                                $ 401.75
Part 2:          Mortgage Payment Adjustment
 2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-rate account?
           No

           Yes       Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                     attached, explain why: ________________________________________________________________________________________

                     Current interest rate:                                                                      New interest rate:
                     Current principal and interest payment:                                                     New principal and interest payment:

Part 3:          Other Payment Change
 3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

         No

         Yes       Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                   agreement. (Court approval may be required before the payment change can take effect. )


                   Reason for change: ________________________________________________________________________________________
                   Current mortgage payment:                                                         New mortgage payment:




 Official Form 410S1                                    Notice of Mortgage Payment Change                                                                               page      1
     Debtor 1         PAMALA HELLER
                   Case 18-60154-pmb                           Doc           Filed 05/28/19 Entered
                                                                                             Case Number 05/28/19
                                                                                                         (if known) 11:38:16
                                                                                                                     1860154              Desc Main
                           First Name           Middle Name                   Document
                                                                          Last Name        Page 2 of 5




Part 4:         Sign Here
  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
  number.
  Check the appropriate box.

       I am the creditor

       I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
  information, and reasonable belief.

  /s/ Alicia Salinas                                                                               Date      05/28/2019
  Signature




  Print                    Alicia Salinas                                                          Title   Bankruptcy Case Manager


  Company                  NewRez LLC DBA Shellpoint Mortgage Servicing


  Address                  PO Box 10826



                           Greenville                                                SC               29603-0826


  Contact phone            (800) 365-7107                                                  Email     mtgbk@shellpointmtg.com




 Official Form 410S1                                     Notice of Mortgage Payment Change                                                     page   2
                 Case 18-60154-pmb                               Doc          FiledServicing
                                                                  Shellpoint Mortgage 05/28/19 Entered 05/28/19 11:38:16
                                                                                                                      Final Desc Main
                                                                  PO Box 10826Document        Page 3 of 5
                                                                     Greenville, SC 29603 0826
                                                                     For Inquiries: (800) 365-7107


                                                                                                                                        Analysis Date:                                             May 04, 2019
        PAMALA HELLER                                                                                                                   Loan:
        1064 SLY FOX RUN                                                                                                                Property Address:
        FAIRBURN GA 30213                                                                                                               1064 SLY FOX RUN
                                                                                                                                        FAIRBURN, GA 30213




                                                                  Annual Escrow Account Disclosure Statement - Account History
      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
      behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
      decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
      increase. If the escrow payment decreases, your mortgage payment will decrease.

Payment Information              Contractual            Effective Jul 01, 2019        Prior Esc Pmt                      May 01, 2019           Escrow Balance Calculation

P & I Pmt:                          $1,006.89                        $1,132.98**      P & I Pmt:                             $1,132.98          Due Date:                                        February 01, 2019
Escrow Pmt:                          $280.78                          $401.75         Escrow Pmt:                             $280.78           Escrow Balance:                                        ($1,170.88)
Other Funds Pmt:                        $0.00                            $0.00        Other Funds Pmt:                           $0.00          Anticipated Pmts to Escrow:                             $1,403.90
Asst. Pmt (-):                          $0.00                            $0.00        Asst. Pmt (-):                             $0.00          Anticipated Pmts from Escrow (-):                            $0.00
Reserve Acct Pmt:                       $0.00                            $0.00        Resrv Acct Pmt:                            $0.00

Total Payment:                      $1,287.67                        $1,534.73        Total Payment:                         $1,413.76          Anticipated Escrow Balance:                              $ 233.02


Shortage/Overage Information                                      Effective Jul 01, 2019          Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
                                                                                                  amounts or insurance premiums, your escrow balance contains a cushion of 803.50.
Upcoming Total Annual Bills                                                    $4,820.99
Required Cushion                                                                                  A cushion is an additional amount of funds held in your escrow in order to prevent the
                                                                                $803.50
Required Starting Balance                                                      $2,599.49          balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                              ($2,366.47)          occurs. Your lowest monthly balance should not be below 803.50 or 1/6 of the
Surplus                                                                            $0.00          anticipated payment from the account.

        ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.
      This is a statement of actual activity in your escrow account from July 2018 to June 2019. Last year's anticipated activity (payments to and from
      your escrow account) is next to the actual activity.
                              Payments to Escrow                          Payments From Escrow                                                               Escrow Balance
          Date                Anticipated              Actual             Anticipated          Actual                      Description                       Required               Actual
                                                                                                                     Starting Balance                           1,403.87             1,123.09
        Jul 2018                      280.78                280.78                                                                                              1,684.65             1,403.87
        Aug 2018                      280.78                                                                   *                                                1,965.43             1,403.87
        Sep 2018                      280.78                                                                   *                                                2,246.21             1,403.87
        Sep 2018                                            280.78                                             *     Escrow Only Payment                        2,246.21             1,684.65
        Sep 2018                                                                                        842.95 *     City Tax                                   2,246.21               841.70
        Oct 2018                      280.78                280.78             1,895.22               2,560.04 *     County Tax                                   631.77            (1,437.56)
        Oct 2018                      280.78                                     291.11                        *     City Tax                                     621.44            (1,437.56)
        Nov 2018                      280.78                561.56                                             *                                                  902.22              (876.00)
        Dec 2018                      280.78                280.78                                                                                              1,183.00              (595.22)
        Jan 2019                      280.78                280.78                                                                                              1,463.78              (314.44)
        Jan 2019                                                                                      1,418.00 * Hazard                                         1,463.78            (1,732.44)
        Feb 2019                      280.78                                   1,183.00                        * Hazard                                           561.56            (1,732.44)
        Mar 2019                      280.78                280.78                                                                                                842.34            (1,451.66)
        Apr 2019                      280.78                280.78                                                                                              1,123.12            (1,170.88)
        May 2019                      280.78                                                                     *                                              1,403.90            (1,170.88)
        Jun 2019                      280.78                                                                     *                                              1,684.68            (1,170.88)
                                                                                                                     Anticipated Transactions                   1,684.68            (1,170.88)
        May 2019                                          1,123.12 P                                                                                                                   (47.76)
        Jun 2019                                            280.78 P                                                                                                                   233.02
                                    $3,650.14            $3,930.92            $3,369.33              $4,820.99
      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.
      P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.
          Case 18-60154-pmb                             Doc          FiledServicing
                                                         Shellpoint Mortgage   05/28/19 Entered 05/28/19 11:38:16
                                                                                                               Final Desc Main
                                                         For Inquiries:Document
                                                                       (800) 365-7107  Page 4 of 5
                                                                                                                        Analysis Date:                                              May 04, 2019
                                                                                                                        Loan:


                                                  Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.

      Date                     Anticipated Payments                                                                                                 Escrow Balance
                              To Escrow          From Escrow                   Description                                                Anticipated                Required
                                                                              Starting Balance                                                    $233.02                2,599.49
   Jul 2019                        401.75                                                                                                         $634.77                3,001.24
   Aug 2019                        401.75                                                                                                       $1,036.52                3,402.99
   Sep 2019                        401.75                                                                                                       $1,438.27                3,804.74
   Oct 2019                        401.75              2,560.04               County Tax                                                        ($720.02)                1,646.45
   Oct 2019                                              842.95               City Tax                                                        ($1,562.97)                  803.50
   Nov 2019                        401.75                                                                                                     ($1,161.22)                1,205.25
   Dec 2019                        401.75                                                                                                       ($759.47)                1,607.00
   Jan 2020                        401.75                                                                                                       ($357.72)                2,008.75
   Feb 2020                        401.75              1,418.00               Hazard                                                          ($1,373.97)                  992.50
   Mar 2020                        401.75                                                                                                      ($972.22)                 1,394.25
   Apr 2020                        401.75                                                                                                      ($570.47)                 1,796.00
   May 2020                        401.75                                                                                                      ($168.72)                 2,197.75
   Jun 2020                        401.75                                                                                                        $233.03                 2,599.50
                                 $4,821.00             $4,820.99
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is $233.02. Your starting
 balance (escrow balance required) according to this analysis should be $2,599.49. This means you have a shortage of $2,366.47.
 This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
 deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.
 We anticipate the total of your coming year bills to be 4,820.99. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
   New Escrow Payment Calculation

   Unadjusted Escrow Payment                                               $401.75
   Surplus Reduction:                                                        $0.00
   Shortage Installment:                                                     $0.00
   Rounding Adjustment Amount:                                               $0.00

   Escrow Payment:                                                         $401.75

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION.
         Case 18-60154-pmb                 Doc        Filed 05/28/19 Entered 05/28/19 11:38:16                            Desc Main
                                                       Document     Page 5 of 5

NewRez LLC DBA Shellpoint Mortgage Servicing                     Phone Number:                (800) 365-7107
PO Box 10826                                                     Fax:                         (866) 467-1137
Greenville, SC 29603-0826
                                                                 Email:    mtgbk@shellpointmtg.com




RE: Debtor 1         PAMALA HELLER
    Debtor 2

Case No:      1860154
PROOF OF SERVICE

I certify that a copy of the foregoing documents were served upon the following persons electronically or by mail via the U.S. Postal
Service, postage prepaid or by personal delivery, at their scheduled addresses on this day, 5/28/2019.

Northern District of Georgia, Atlanta Division
75 Spring Street, Room 1340
Richard Russell Bldg
Atlanta, GA 30303



Melissa J. Davey
Standing Ch 13 Trustee
260 Peachtree Street, NW
Suite 200
Atlanta, GA 30303

Howard P Slomka
2859 Paces Ferry Rd, SE
Atlanta, GA 30339-5701




PAMALA HELLER
1064 SLY FOX RUN
FAIRBURN GA 30213



/s/ Alicia Salinas
